8:11-cr-00135-LSC-FG3         Doc # 209      Filed: 03/01/13     Page 1 of 2 - Page ID # 961




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )              CASE NO. 8:11CR135
                                                )
               Plaintiff,                       )
                                                )                     ORDER
               vs.                              )
                                                )
KARINA MICHELLE GUEVARA,                        )
                                                )
               Defendant.                       )

         This matter is before the Court on the Defendant’s motion for leave to proceed on

appeal in forma pauperis (Filing No. 207), filed under Federal Rule of Appellate Procedure

24(a). The Defendant, who was represented by retained counsel in this Court, has filed

a notice of appeal. (Filing No. 206.) The motion includes an affidavit regarding the

Defendant’s financial status (Filing No. 208). The affidavit makes little sense, in that it

indicates that the Defendant’s spouse has had average monthly income of $27,000 during

the last twelve months, yet the Defendant and spouse have virtually no money or other

assets, according to the affidavit. The Court will assume for purposes of the pending

motion that the Defendant’s spouse’s average monthly income as declared in the affidavit

actually reflects average annual income, and will direct the Defendant to file an amended

affidavit. The Defendant is also cautioned that she will be responsible for payment of the

filing fee for the appeal if it is later determined that she had the ability to pay the fees and

costs.

         IT IS ORDERED:

         1.    The Defendant’s motion for leave to proceed on appeal in forma pauperis

               (Filing No. 207) is provisionally granted;
8:11-cr-00135-LSC-FG3     Doc # 209      Filed: 03/01/13    Page 2 of 2 - Page ID # 962




     2.    The Defendant is directed to file an amended affidavit or an affidavit verifying

           the information reflected on her original affidavit, if true; and

     3.    The Clerk is directed to mail a copy of this order to the Defendant at her last

           known address.

     DATED this 1st day of March, 2013.

                                               BY THE COURT:


                                               s/Laurie Smith Camp
                                               Chief United States District Judge




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